 4:11-cr-03110-RGK-CRZ           Doc # 56    Filed: 03/13/12   Page 1 of 1 - Page ID # 89




                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                    )
                                             )
                    Plaintiff,               )                  4:11CR3110
                                             )
               v.                            )
                                             )
KENNETH A. JONES,                            )       MEMORANDUM AND ORDER
                                             )
                    Defendants.              )
                                             )


       After reviewing the defendant's record in this case, including his past record on
pretrial release,

      IT IS ORDERED that the defendant's motion for pretrial release, (filing no. 55), is
denied.


       DATED this 13th day of March, 2012.

                                            BY THE COURT:

                                            s/ Cheryl R. Zwart
                                            United States Magistrate Judge
